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             UNITED STATES DISTRICT COURT
                DISTRICT OF NEW JERSEY
                        NEWARK

                         Minutes of Proceedings


Judge:    Esther Salas                          APRIL 21, 2015
                                              Date of Proceedings
Court Reporter:    Lynne Johnson

Deputy Clerk:    Philip Selecky

Title of Case:                            Docket # CV. 14-2263 (ES)

Parisi v. Drew University, et al.

Appearances:
Kimberly Lau, Esq, & Solomon Rubin, Esq, for the pltf.
James Lidon, Esq, & William Brown, Esq, for deft, Drew University.
Jacob Levy, Pro-Se Deft.

Nature of Proceedings: Hearing on the deft, Drew University’s
motion to dismiss.
Ordered motion granted without prejudice.
Opinion read into the record.




Time Commenced: 12:00 p.m.
Time Adjourned: 12:30 p.m.
Total Time: 30 Minutes

                                      Philip Selecky, Deputy Clerk
